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                                                                           JS-6
1                         UNITED STATES DISTRICT COURT
2                        CENTRAL DISTRICT OF CALIFORNIA
3
     MARIAH DANIELLE ALHAWARIN; ) CV 17-3444-GW-AFMx
4                               )
     MOHAMMED ALHAWARIN,        )
5                               ) JUDGMENT
            Plaintiffs,         )
6                               )
        v.                      ) Judge: Honorable George H. Wu
7                               )
                                )
8    JAMES McCAMENT, et al.,    )
                                )
9                               )
            Defendants.         )
10                              )
                                )
11

12                                         JUDGMENT
13
           In light of the Court’s order denying Plaintiffs’ Motion for Summary
14
     Judgment (Dkt. 143) and granting Defendants’ Motion for Summary Judgment (Dkt.
15

16   142), the Court hereby ORDERS that judgment be entered as follows:
17
           1. Judgment for Defendants James McCament, et al. and against Plaintiffs
18

19   Mariah Danielle Alhawarin and Mohammed Alhawarin, who shall take nothing.
20
           2. The Clerk of Court shall close this case.
21

22         IT IS SO ORDERED.
23

24   DATED: January 25, 2021
25

26                                                _______________________
27
                                                  HON. GEORGE H. WU
                                                  United States District Judge
28
